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Stephen E. W. Hale (5285)                    John W. Mackay (6923)
Bentley J. Tolk (6665)                       Brett L. Tolman (8821)
PARR BROWN GEE & LOVELESS                    RAY QUINNEY & NEBEKER P.C.
101 South 200 East, Suite 700                36 South State Street, Suite 1400
Salt Lake City, Utah 84111                   Salt Lake City, Utah 84111
Telephone: (801) 532-7840                    Telephone: (801) 532-1500
Facsimile: (801) 532-7750                    Facsimile: (801) 532-7543
btolk@parrbrown.com                          jmackay@rqn.com
shale@parrbrown.com                          btolman@rqn.com

Thomas E. Lavender III (pro hac vice
forthcoming)
Kristopher R. Alderman (pro hac vice
forthcoming)
FISHER BROYLES, LLP
945 East Paces Ferry Road, Suite 2000
Atlanta, Georgia 30326
Telephone: (404) 400-4500
Facsimile: (404) 596-8887
ted.lavender@fisherbroyles.com
kris.alderman@fisherbroyles.com

Attorneys for Defendant ELAP Services, LLC


                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



IHC HEALTH SERVICES, INC., a non-profit          ELAP’S PARTIAL MOTION TO
Utah corporation,                                DISMISS

       Plaintiff,                                (Oral Argument Requested)

v.                                               Case No. 2:17-cv-01245-JNP-EJF

ELAP SERVICES, LLC, a limited liability          Judge Jill N. Parrish
company,
                                                 Magistrate Judge Evelyn J. Furse
       Defendant.
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                                 ELAP’S MOTION TO DISMISS

         Defendant ELAP Services, LLC moves to dismiss the second, third, fourth,

and fifth claims for relief pled in the Second Amended Complaint (the “SAC”)

filed by Plaintiff IHC Health Services, Inc. (hereinafter “IHC”) for failure to state a

claim upon which relief may be granted pursuant to Federal Rule of Civil

Procedure 12(b)(6)1, based upon the following grounds: (1) IHC’s claim for unjust

enrichment fails because IHC never conferred a benefit on ELAP, and even if

treating patients could be considered a benefit conferred on ELAP by IHC, ELAP

was not aware of that benefit when it was allegedly conferred. The only actual

benefit ELAP received was contractual compensation, which was not paid by IHC

and was paid by ELAP’s customers in exchange for valuable services rendered by

ELAP to its customers; (2) IHC’s fraud and negligent misrepresentation claims

should be dismissed because the allegedly false statements have not been pled with

particularity; none of the allegedly false statements made by ELAP were repeated

to IHC; and IHC did not rely on any of these allegedly false statements. The

negligent misrepresentation claim should also be dismissed on the additional

ground that IHC has not pled facts showing the existence of a special duty ELAP


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  ELAP and IHC agreed by stipulation to extend the time for ELAP to respond to the first and sixth claims for relief
through and including November 14, 2018. ELAP does not seek to dismiss the first and sixth claims for relief;
instead, ELAP will respond to those claims within the time permitted by the stipulation submitted by the parties and
entered by the Court.


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owes IHC; and (3) IHC’s declaratory judgment claim should be dismissed because

the declaratory relief is predicated on claims that have been and should be

dismissed, and IHC lacks standing to obtain the type of prospective relief it seeks

for speculative and uncertain future injuries.

     MEMORANDUM IN SUPPORT OF ELAP’S MOTION TO DISMISS

                                  INTRODUCTION

         IHC is a large health care corporation with unrivaled market power in Utah.

In 2016, IHC allegedly treated more than 1.4 million unique patients, which it

calculates to be approximately 45% of Utah’s 3.1 million residents, and took in

nearly $7 billion in revenue. This Court previously dismissed three of the four

claims at issue in this motion; nevertheless, IHC filed a Second Amended

Complaint in which it fails to cure the pleading deficiencies identified by the Court

in its prior ruling.

         In the Second Amended Complaint, IHC continues to push the far-fetched

narrative in which ELAP, an upstart company providing healthcare cost

containment services to a handful of Utah employers, is bullying and harassing

IHC, the largest integrated health system in Utah. Regardless of IHC’s storyline,

IHC’s regurgitated claims for fraud, negligent misrepresentation, and declaratory

judgment continue to suffer from the same pleading deficiencies. Additionally,


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IHC fails to state a claim for unjust enrichment for the same reasons set forth in

ELAP’s brief opposing IHC’s request to add the quantum meruit claim.

         ELAP Services is a company that audits hospital claims on behalf of its

clients, which are primarily small to medium-sized companies, some of which are

in Utah. ELAP’s clients each sponsor their own ERISA self-funded healthcare

plan, which contains defined policy limits for hospital-based healthcare. On

occasion, hospitals may be dissatisfied with the amount of reimbursement received

from the ERISA health plan pursuant to the audit performed by ELAP. This may

lead the hospital to pursue the patient and/or the health plan for additional

payment. If that occurs, pursuant to its contractual obligations to its clients (the

ERISA health plan), ELAP covers the cost associated with attorney’s fees related

to defending the patient and/or the health plan against the hospital’s attempt to

collect additional reimbursement beyond the policy limit of the health plan. Often,

hospitals like IHC seek to enforce a “blank check” against its patients—alleged

contracts that lack any specific price terms or agreement—and in such instances

contract law in Utah and most states requires an analysis of the reasonable value of

the charges a hospital seeks to impose. In this fashion, ELAP offers ERISA plans

the ability to control unreasonable health care costs.




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         The claims asserted against ELAP are motivated by IHC’s frustration at

being forced to demonstrate its charges are reasonable. Without any specificity,

and showing a disregard for the applicable pleading standards, IHC alleges ELAP

is making misrepresentations to Utah employers and members of those employers’

health plans. Significantly, IHC does not contend ELAP is making

misrepresentations to IHC. Nevertheless, IHC asserts claims against ELAP for

fraud, negligent misrepresentation, declaratory relief, and unjust enrichment.

         ELAP is not misrepresenting facts to its clients or patients of IHC, but even

if IHC’s vague allegations were true (which they are not), IHC’s Second Amended

Complaint would still fail to state a claim for relief. IHC fails to state claims upon

which relief may be granted despite guidance from the Court explaining the

deficiencies in the original Complaint. The failure to cure those pleading

deficiencies at this stage is the result of an absence of facts supporting IHC’s

claims. One of the most fundamental problems dooming IHC’s claims is the fact

that ELAP did not make any misrepresentations to IHC. Similarly, IHC did not

provide any services to ELAP. At the most basic level, IHC’s claims for fraud,

negligent misrepresentation, declaratory relief, and unjust enrichment fail because

there is no relationship between ELAP and IHC. For the reasons set forth below,




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IHC’s second, third, fourth, and fifth claims for relief in the Second Amended

Complaint should be dismissed.

                             FACTUAL ALLEGATIONS

         IHC is a non-profit corporation operating 22 hospitals and 185 clinics in Utah

and Idaho. (SAC, ¶ 1–2.) It is the largest integrated health network in Utah. (SAC,

¶ 47.) IHC treated more than 1.3 million Utah patients in 2016. (SAC, ¶ 13.) ELAP

provides health care cost containment services to self-funded health plans. (SAC,

¶ 20.) ELAP markets itself to companies by explaining it can help them save money

on health care costs. (SAC, ¶ 20, 23, 29.) ELAP reviews hospital bills for its clients

and determines the appropriate amount of benefits to be paid by the health plan.

(SAC, ¶ 25.) According to IHC, ELAP determines the payment amount by reference

to the amounts hospitals accept from Medicare. (SAC, ¶ 26.) The practice of

reviewing bills and determining the appropriate reimbursement based on industry

standard metrics is prevalent enough in the industry to have common names known

to IHC. (SAC, ¶ 25.) If hospitals seek to collect additional amounts from health plan

members, ELAP provides a defense to the plan member. (SAC, ¶ 27.) Companies

that hire ELAP pay fees in exchange for its services. (SAC, ¶ 23, 56.)

         IHC contends ELAP makes false statements to induce Utah employers to use

ELAP’s services. (SAC, ¶ 8.) IHC does not have a preferred-provider agreement or


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any other contractual arrangement with ELAP. (SAC, ¶ 25.) Nevertheless, IHC

admits and treats patients covered by health plans affiliated with ELAP. (SAC, ¶ 10.)

IHC contends ELAP encourages patients not to pay amounts those patients are

contractually obligated to pay IHC. (SAC, ¶ 31.) IHC alleges ELAP falsely promises

patients can go to any provider, including IHC. (SAC, ¶ 24.) Of course, IHC also

admits these patients have and will continue to go to IHC. (SAC, ¶ 10.) Finally,

ELAP allegedly intentionally omits disclosing certain information to patients. (SAC,

¶ 27).

         IHC alleges it has provided valuable medical services to patients covered by

an ELAP-affiliated health plan. (SAC, ¶ 55.) Each time IHC provides such services,

ELAP reviews the bill IHC submits to the patient’s health plan and ELAP receives

compensation from the health plan for doing so. (SAC, ¶ 56.) According to IHC,

ELAP only receives such compensation because of misleading acts, making it unjust

for ELAP to retain the compensation. (SAC, ¶ 60.)

         Based on these allegations, IHC asserts claims against ELAP for tortious

interference with existing and potential economic relations, unjust enrichment,

fraud, negligent misrepresentation, and declaratory and injunctive relief.




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                              STANDARD OF REVIEW

         To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead “more

than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

The plaintiff must plead enough factual matter to “raise a right to relief above the

speculative level” and “raise a reasonable expectation that discovery will reveal

evidence supporting” the claim. Id. at 555–56. “[N]aked assertions devoid of

further factual enhancement” are not sufficient to survive a 12(b)(6) motion.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 557).

Allegations that are “no more than conclusions[] are not entitled to the assumption

of truth.” Iqbal, 556 U.S. at 679. Conclusory allegations do not “unlock the doors

of discovery.” Id. at 678–79. The complaint must state a “plausible claim for

relief.” Id. at 679. The plausibility assessment is a “context-specific task”

requiring courts to analyze well-pled factual matter against the elements of the

cause of action while employing its “judicial experience and common sense.” Id.

                                     ARGUMENT

         For the reasons set forth below, IHC’s second, third, fourth, and fifth claims

for relief should be dismissed.




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I.       IHC Fails to State a Claim for Unjust Enrichment Because IHC Has
         Not Conferred any Benefit.

         Unjust enrichment occurs when a person has and retains money or benefits

which in justice and equity belong to another. Baugh v. Darley, 184 P.2d 335, 337

(Utah 1947); see also RESTATEMENT OF RESTITUTION, § 1, cmt. b. To prevail on a

claim for unjust enrichment, the plaintiff must prove (1) it conferred a benefit on the

defendant; (2) the defendant appreciated or knew of the benefit; and (3) the

defendant’s acceptance or retention of the benefit makes it inequitable for the

defendant to retain the benefit without payment of its value. US Fidelity v. US Sports

Specialty, 270 P.2d 464, 468 (Utah 2012). The Second Amended Complaint fails to

state a claim for unjust enrichment.

         A.      IHC Did Not Confer any Benefit on ELAP.

         The first element of an unjust enrichment claim requires IHC to show it

conferred a benefit on ELAP. Baugh, 184 P.2d at 337 (“We must now determine

whether or not the plaintiff has conferred a benefit upon the defendant”). Incidental

benefits are not recoverable under an unjust enrichment claim. Id. When a plaintiff

provides services “for his own advantage, and from which the defendant benefits

incidentally,” the plaintiff cannot recover under unjust enrichment. Id.; see also

RESTATEMENT OF RESTITUTION, §§ 40–41; Jeffs v. Stubbs, 970 P.2d 1234, 1248 (Utah

1998). “Generally, unless such services enhance or benefit the property of the

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defendant or otherwise confer on him a direct benefit, they do not form the basis for

a contract imposed by law because there is no ‘unjust enrichment’ as that term is

used in law.” Baugh, 184 P.2d at 337–38.

         Here, IHC did not confer any benefit on ELAP, let alone a direct benefit that

may serve as a basis for recovery under unjust enrichment. IHC alleges it conferred

a benefit on ELAP by treating patients covered under health plans sponsored by

ELAP’s customers. (SAC, ¶ 55–57.) IHC argues its provision of services to a patient

confers a benefit on ELAP because the patient’s health plan subsequently asks ELAP

to review the resulting bill from IHC and the health plan pays ELAP for doing so.

(SAC, ¶ 55-57.) If ELAP received any benefit at all, this is precisely the type of

incidental benefit that is not recoverable. See Baugh, 184 P.2d at 337–38. IHC

performed services to patients for its own advantage, i.e., payment from the health

plan and patient. When IHC treats patients, the only direct benefit is received by the

patients who obtain necessary medical treatment. Although IHC alleges ELAP is

compensated for auditing hospital bills, it is not IHC’s provision of services, but

rather ELAP’s auditing of the bill that results in compensation to ELAP. (SAC,

¶ 56.) Significantly, IHC did not pay any amount to ELAP, and the only purported

benefit ELAP received was contractual compensation from its customers—not IHC.




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         Such a tenuous and indirect benefit, if it can be called a benefit at all, is not

the conferral of a direct benefit sufficient to state a claim for unjust enrichment. IHC

treats patients for its own advantage, not for ELAP’s benefit. The alleged benefit

conferred on ELAP is the contractual payment of compensation to ELAP by ELAP’s

customers. (SAC, ¶ 56.) As that payment is governed by contractual obligations, it

cannot be the basis for an unjust enrichment claim. See US Fidelity, 270 P.3d at 468.

IHC cannot satisfy the first element of an unjust enrichment claim. Accordingly, the

unjust enrichment claim asserted in the Second Amended Complaint should be

dismissed with prejudice.

         B.      Absent Any Benefit Conferred, ELAP Could Not Have Any
                 Awareness or Appreciation of the Purported Benefit.

         IHC must also prove ELAP appreciated or knew of the benefit conferred by

IHC to ELAP. US Fidelity, 270 P.2d at 468. Knowledge or appreciation of the

alleged benefit is evaluated at the time the benefit is allegedly conferred. See Desert

Miriah, Inc. v. B&L Auto, Inc., 12 P.3d 580, 583 (Utah 2000).

         As discussed above, IHC did not confer any benefit on ELAP; therefore,

ELAP could not have had any appreciation or knowledge of the conferral of a

supposed benefit. Even if IHC’s provision of services to IHC’s patients did

constitute a benefit conferred on ELAP by IHC (which it does not), ELAP still



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would have had no knowledge or appreciation any patient was treated until long

after treatment was provided. IHC does not and cannot allege ELAP knows when

IHC treats a particular patient. Instead, ELAP only becomes aware IHC has

provided services to a patient after the fact, when ELAP’s customer asks ELAP to

audit that particular patient’s hospital bill. Thus, even if IHC’s provision of

hospital services to patients were to somehow constitute a benefit to ELAP (which

it does not), IHC would still fail to state a claim for unjust enrichment because

ELAP did not have any knowledge or appreciation of the fact services were

provided at the time they were provided. See Desert Miriah, 12 P.3d at 583.

Accordingly, IHC has not alleged and cannot prove facts sufficient to establish the

elements of a claim for unjust enrichment; therefore, the Court should dismiss the

unjust enrichment claim.

II.      The Fraud Allegations Are Not Pled with Particularity and Fail to Show
         Reliance.

         A plaintiff must show nine elements to properly plead a claim for fraud: (1)

a representation; (2) concerning a presently existing material fact; (3) which was

false; (4) which the representor either (a) knew to be false, or (b) made recklessly,

knowing that he had insufficient knowledge upon which to base such

representation; (5) for the purpose of inducing the other party to act upon it; (6)

that the other party, acting reasonably and in ignorance of its falsity; (7) did in fact

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rely upon it; (8) and was thereby induced to act; (9) to his injury and damage.

Carlton v. Brown, 2014 UT 6, ¶ 37, 323 P.3d 571, 581–82 (Utah 2014); see also

Memorandum Decision and Order Granting in Part and Denying in Part

Defendant’s Motion to Dismiss with Leave to Amend (Prior Motion to Dismiss

Order), at pp 14–15. IHC fails to state a claim for fraud because IHC did not rely

on any of the alleged misrepresentations, the alleged misrepresentations were not

even purportedly made to IHC, and IHC fails to plead fraud with particularity as

required under Rule 9(b). Thus, plaintiff’s fraud claim should be dismissed.

         A.       IHC Did Not Rely on Any Allegedly Fraudulent Statements Made
                  by ELAP.

         All of the allegedly false statements upon which the fraud claim is based

were supposedly made to employers, health plans, or plan members—not to IHC:

    • ELAP allegedly represents to “employers and/or Plan members” that

         members can go to any provider, including IHC, and ELAP expects the

         provider will accept the ELAP-determined amount as payment in full (SAC,

         ¶ 64);

    • ELAP allegedly represents that “employees and/or Plan members” are not

         liable for balance bills (SAC, ¶ 64);




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    • ELAP allegedly represents to “Plans and/or Plan members” that no special

         arrangements are required to obtain services at IHC and members can sign

         whatever documents the facility presents (SAC, ¶ 64);

    • ELAP allegedly encourages Plan members to disregard the terms of “Patient

         Agreements” (SAC, ¶ 65);

    • ELAP allegedly fails to disclose facts about balance billing to plan members

         (SAC, ¶ 65); and

    • ELAP allegedly intentionally omits disclosing certain information to patients

         (Complaint, ¶ 64).

         In order to recover for fraud, a plaintiff must show it justifiably relied on the

allegedly false statements. Carlton, 2014 UT 6, ¶ 37. IHC did not rely on any of

ELAP’s alleged statements—nor does it allege reliance. Of course, the statements

were not even made to IHC, making IHC’s reliance on them impossible. While it is

possible to recover for fraudulent statements made to a third party, the plaintiff can

only do so if the maker of the statement had reason to believe the statement would

be repeated to the plaintiff, who would rely on the statement. Russell/Packard

Dev., Inc. v. Carson, 78 P.3d 616, n.12 (Utah App. 2003). Here, IHC does not

allege that any third party repeated the above allegedly fraudulent statements to

IHC.


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         IHC has not and cannot plead that it relied on any of the alleged

misrepresentations. On the face of the Second Amended Complaint, IHC did not

rely on any alleged statement that (1) Plan members can go to any hospital; (2)

IHC will accept the amount ELAP determines is appropriate; (3) Plan members are

not responsible for balance bills; (4) no special arrangements are necessary to

receive treatment at IHC; (5) Plan members can sign whatever agreements they are

given; or (6) ELAP will step in and defend against any balance billing. IHC not

only fails to allege reliance, but IHC’s affirmative allegations demonstrate it

would not have relied on these statements if they had been made or repeated

to IHC. In the absence of reliance, IHC’s fraud claim must be dismissed. As the

Court recognized in its Prior Motion to Dismiss Order, IHC did not rely on any of

the allegedly false statements:

         Here, the allegedly false statements were made to ELAP Plans or Plan
         Members, not to IHC. And because IHC vigorously contests the accuracy of
         those statements, it cannot plausibly suggest it relied upon them.

(Prior Motion to Dismiss Order, at p. 15–16.) Accordingly, the Court dismissed the

fraud claim with leave to amend; however, the Second Amended Complaint fails to

include any amendments correcting the pleading deficiency identified by the Court.

Having been told by the Court exactly what IHC would need to allege to survive a

motion to dismiss, it is easy to conclude IHC failed to fix this deficiency because it


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simply cannot do so—IHC did not rely on any allegedly false statement made by

ELAP.

         IHC does add allegations in a failed attempt to plead around this

requirement. IHC now says it relied on false statements made by patients that they

would pay whatever amount IHC subsequently decided to charge them. (SAC,

¶ 72.) This new allegation fails to cure the pleading deficiency previously

identified by the Court because IHC does not allege ELAP made this false

representation to the plan members, who then repeated it to IHC, who then relied

upon it. That is the chain of events necessary to state a claim for fraud against a

defendant whose allegedly false statement is made to a third party. Carson, 78 P.3d

at n.12; Prior Motion to Dismiss Order, at 15, n.8. Here, IHC did not and cannot

allege ELAP falsely told patients they would pay whatever amount IHC

subsequently decided to charge them—in fact, IHC alleges ELAP told patients the

exact opposite. ELAP cannot be liable for allegedly false statements it never made.

Accordingly, IHC failed to cure the pleading deficiency identified by the Court in

its Prior Motion to Dismiss Order. In short, IHC now claims it relied on false

representations by patients that they would pay whatever amount IHC charges;

however, this fails to state a claim against ELAP because ELAP did not make that




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statement to the patients. In fact, IHC alleges ELAP said the exact opposite thing

to patients.

         As it alleged in the Complaint, IHC continues to allege in the Second

Amended Complaint that ELAP makes a concerted effort to conceal its

involvement from IHC. But the Court has already found this allegation insufficient

to state a claim for fraud:

         While litigation to collect on outstanding bills certainly costs time and
         money, IHC has not actually relied on anything ELAP has represented to
         them, or to the patients. At most, the patients have failed to inform IHC that
         they are participants in an ELAP plan, but IHC does not suggest that the
         patients were under any legal duty to pass on that information. Moreover,
         IHC still has the legal right to collect the patients’ bills under the Patient
         Agreements. Thus, IHC has failed to plead detrimental reliance.

(Prior Motion to Dismiss Order, at p. 16.) IHC’s fraud claim should be dismissed

with prejudice.

         B.      IHC Failed to Plead Its Fraud Claim with Particularity.

         Separately, and despite the Court’s highlighting IHC’s failure to allege fraud

with particularity in the Complaint, IHC still fails to meet the heightening pleading

requirement, which provides “a party must state with particularity the

circumstances constituting fraud or mistake.” FED. R. CIV. P. 9(b). To plead fraud

with particularity, the plaintiff must “set forth the time, place and contents of

the false representation, the identity of the party making the false statements and


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the consequences thereof.” Koch, 203 F.3d at 1236; see also Heaton v. Am.

Brokers Conduit, 496 Fed. Appx. at 876. As the Court previously found, IHC

failed to plead any of the allegedly false statements with the requisite particularity.

Specifically, IHC does not plead the time, place, or identity of the person making

any of the alleged false statements.2

         In an apparent effort to cure this pleading deficiency, IHC identifies what it

characterizes as “a small sample” of dates it admitted patients covered by ELAP-

affiliated plans. (SAC, ¶ 86–87.) According to IHC, these are the dates IHC

reasonably relied on fraudulent statements made by patients. (SAC, ¶ 86.)

However, IHC fails to identify the content of the fraudulent statements allegedly

made on those dates. More importantly, those are the allegedly fraudulent

statements of third parties—not ELAP! IHC cannot plead ELAP’s fraud with

particularity simply by providing more information about statements made by

others. IHC has done nothing more than identify 24 times in which it allegedly

admitted patients covered by an ELAP-affiliated plan. Yet IHC still fails to plead

ELAP’s alleged fraud with particularly by alleging the time, place, and contents of

2
 IHC understands well the importance of pleading allegations of fraud or misrepresentation, given the gravity of
such accusations and the need for a defendant to fairly defend itself against such accusations. See Shah v.
Intermountain Healthcare, Inc., 2013 UT App 261, ¶ 12, 314 P.3d 1079 (Utah Ct. App. 2013) (IHC prevailed on
argument that plaintiff failed to allege misrepresentations with adequate particularity, and stating that “a plaintiff
alleging fraud must know what his claim is when he files it”); citing Farlow v. Peat Marwick, Mitchel & Co., 956
F.2d 982, 990 (10th Cir. 1992); and citing Segal v. Gordon, 467 F.2d 602, 607-08 (2nd Cir. 1972) (a complaint
alleging fraud should “serve to seek redress for a wrong, not to find one”).


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the false representation. See Koch, 203 F.3d at 1236. Thus, the fraud claim should

also be dismissed for failing to meet the particularly requirement.

III.     Negligent Misrepresentation.

         In addition to the other elements of fraud, to state a claim for negligent

misrepresentation, IHC must allege ELAP

         (1) [has] a pecuniary interest in a transaction, (2) is in a superior position to
         know material facts, and (3) carelessly or negligently makes a false
         representation concerning them, (4) expecting the other party to rely and act
         thereon, and (5) the other party reasonably does so and (6) suffers loss in
         that transaction.

Christenson v. Commonwealth Land Title Ins. Co., 666 P.2d 302, 305 (Utah 1983)

(quoting Jardine v. Brunswick Corp., 18 Utah 2d 378, 381, 423 P.2d 659, 662

(1967)). See Prior Motion to Dismiss Order, at p. 18. Additionally, “liability will

only lie for a negligent misrepresentation when there is a special duty of care

running from the representor to the representee.” Ellis v. Hale, 373 P.2d 382, 385

(Utah 1962). No special duty exists when the parties deal at arm’s length, neither

has a special expertise or competence as compared with the other, and the plaintiff

could have easily cleared up any confusion with a simple question. Id. Like a claim

for fraud, negligent misrepresentation claims must be pled with specificity.

Heaton, 496 Fed. Appx. at 876; see also Christison v. Biogen Idec Inc., No. 2:11-

CV-01140-DN-DBP, 2014 WL 7261300, at *9 (D. Utah Dec. 18, 2014) (“Both


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negligent misrepresentation and general fraud claims must meet the heightened

pleading requirements of Fed. R. Civ. P. 9(b).”) (internal quotation marks omitted).

         IHC’s negligent misrepresentation claim is based on exactly the same

allegations as its fraud claim. (SAC, ¶ 101.) The negligent misrepresentation claim

fails for the same reasons the fraud claim fails: IHC did not plead the alleged

misrepresentations with particularity, and IHC did not rely upon any of the

insufficiently alleged misrepresentations.

         For the same reasons IHC’s fraud claim is not pled with specificity, its

negligent misrepresentation claim is similarly not pled with specificity. IHC does

not come close to pleading any false statement with the particularity required to

state a claim. Accordingly, IHC’s negligent misrepresentation claim should be

dismissed.

         Also, like the fraud claim, IHC’s negligent misrepresentation claim fails

because IHC did not rely on any of the alleged misrepresentations. IHC attempts to

use the same allegations supporting the fraud claim to support the negligent

misrepresentation claims. Thus, this claim fails for the same reasons the fraud

claim fails: the alleged misrepresentations were not made to IHC, they were not

repeated to IHC, they were not relied on by IHC, and the entire premise of IHC’s




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case demonstrates it would have rejected such alleged statements rather than have

relied on them if they had been made to IHC.

         Additionally, IHC has not pled any facts supporting the existence of a

special duty running from ELAP to IHC. 3 ELAP and IHC have never had any type

of confidential relationship or interaction other than at arm’s length. IHC has not

pled ELAP has any sort of special expertise or competence on which IHC relied in

their interactions. Finally, any alleged confusion about whether a health plan was

affiliated with ELAP could have been cleared up by IHC simply asking the

question, which it apparently failed to do.

         The Court should dismiss the negligent misrepresentation claim because

despite being apprised of the pleading deficiencies, IHC has still failed to state a

claim by alleging reliance on ELAP’s alleged misrepresentations, pleading such

alleged misrepresentations with particularity, or pleading the existence of a special

duty running from ELAP to IHC.




3
 Although IHC’s Second Amended Complaint now contains the purely conclusory and unsupported statement that
ELAP owes IHC a special duty (SAC, ¶ 91), the conclusory statement is not supported by any well pled facts. Such
unsupported conclusory statements are not entitled to an assumption of truth. Iqbal, 556 U.S. at 679.


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IV.      IHC Has Not Pled Any Substantive Claims Entitling It to Declaratory
         Relief, and IHC Lacks Standing for the Requested Relief.

         After its claim for declaratory relief was dismissed from the Complaint, IHC

filed the Second Amended Complaint in which it asks the Court to declare the

following:

    • “ELAP is required to notify Intermountain in advance before an ELAP-

         affiliated Plan Member seeks admission to an Intermountain facility for non-

         emergent health care services whenever ELAP reasonably expects to have a

         role in determining the amount to be paid to Intermountain” (SAC, ¶ 107);

    • “ELAP is prohibited from taking any action or engaging in any

         representations suggesting that: 1) Plan members can visit Intermountain

         without abiding by Patient Agreements; 2) that Intermountain will or must

         accept whatever ELAP decides to pay for Intermountain’s services; and/or 3)

         that the patients who sign Patient Agreements will nevertheless have no

         financial responsibility to Intermountain beyond what ELAP determines the

         patients’ financial obligation to be” (SAC, ¶ 108);

    • “nothing ELAP does, has done, or may do, in its role as alleged “Dedicated

         Decision Maker” is legally binding on Intermountain with respect to the

         amounts Intermountain is obligated to accept as payment in full for health care



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         services rendered to Plan Members except insofar as ELAP directs a Plan to

         pay all of Intermountain’s actual charges” (SAC, ¶ 109).

         This declaratory relief is improper and inappropriate for two reasons. First,

where declaratory relief is premised on the existence of a substantive cause of

action, relief is inherently unavailable if the substantive claim fails as a matter of

law. Long v. Wells Fargo Bank, N.A., 670 Fed. Appx. 670, 671 (10th Cir. 2016);

Fedorowicz v. Pearce, 641 F. Appx. 773, 776 n.2 (10th Cir. 2016); Adams v.

FedEx Ground Package Sys., Inc., 546 F. Appx. 772, 776-77 (10th Cir. 2013). For

reasons discussed above, IHC’s claims for unjust enrichment, fraud, and negligent

misrepresentation should be dismissed with prejudice; therefore, IHC’s related

claim for declaratory relief must fail as well.

         Second, to the extent the requested declaratory relief relates to substantive

causes of action that are not dismissed, IHC has failed to establish standing. IHC

explains its request for declaratory relief seeks prospective relief against future

conduct. (SAC, ¶ 110.) “To establish Article III standing, a plaintiff must show

that: (1) she has suffered an ‘injury in fact’ that is (a) concrete and particularized

and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly

traceable to the challenged action of the defendant; and (3) it is likely, as opposed

to merely speculative, that the injury will be redressed by the relief requested.”


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Tandy v. City of Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004). When the plaintiff

seeks declarations for prospective relief, the “injury in fact” element must be

established by showing the plaintiff is suffering “continuing injury” or under a

“real and immediate threat of being injured in the future.” Id. An “injury in fact”

that is “contingent upon speculation or conjecture” is not sufficient to confer

standing. Id.

         Here, IHC apparently wants the court to declare that ELAP cannot make

certain statements in the future. However, as discussed above, IHC has not even

met the pleading requirements to properly allege ELAP made any of the alleged

misrepresentations. To find the “injury in fact” element of standing has been met,

the Court must ignore IHC’s failure to properly plead any misrepresentations with

the requisite particularity and nevertheless assume ELAP made misrepresentations;

further, the Court must conjecture and speculate that even if IHC proves ELAP

made certain actionable statements entitling IHC to damages, ELAP will

nevertheless go on making the same actionable statements, exposing itself to more

liability. Such conjecture and speculation cannot confer standing. Accordingly,

IHC’s claim for declaratory judgment should be dismissed because IHC lacks

standing where the future conduct IHC purportedly seeks to remedy is speculative

and uncertain.


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                                    CONCLUSION

         For the foregoing reasons, ELAP respectfully requests that this Court grant

its motion and dismiss with prejudice IHC’s claims for unjust enrichment, fraud,

negligent misrepresentation, and declaratory judgment.

                        REQUEST FOR ORAL ARGUMENT

         Due to the complexity of the issues potentially at stake; the breadth of

discovery if the causes of action at issue were to proceed; the inherent seriousness

of fraud allegations; and the legal issues at stake in this litigation, ELAP submits

that good cause exists to allow oral argument, and ELAP hereby requests oral

argument regarding the motion.



         Respectfully submitted this 26th day of October, 2018.

                                          PARR BROWN GEE & LOVELESS


                                          By: /s/ Bentley J. Tolk
                                                Bentley J. Tolk

                                          Attorneys for Defendant ELAP Services,
                                          LLC




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                            CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of October, 2018, a true and correct

copy of the foregoing ELAP’S PARTIAL MOTION TO DISMISS was served

via electronic service on the following:

                      Alan C. Bradshaw
                      Chad R. Derum
                      MANNING CURTIS BRADSHAW & BEDNAR PLLC
                      136 E. South Temple, Suite 1300
                      Salt Lake City, Utah 84111
                      abradshaw@mc2b.com
                      cderum@mc2b.com

                      John W. Mackay
                      Brett L. Tolman
                      RAY QUINNEY & NEBEKER P.C.
                      36 South State Street, Suite 1400
                      Salt Lake City, Utah 84111
                      Telephone: (801) 532-1500
                      Facsimile: (801) 532-7543
                      jmackay@rqn.com
                      btolman@rqn.com



                                                 /s/ Bentley J. Tolk




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